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July 19, 2021

Via E-Mail & 1° Class Mail

Benet Kearney
Assistant U.S. Attorney
One Saint Andrew’ Plaza
New York, NY 10007

RE: USAv. Joshua Christopher Doolin * No. 1:21-cr-00447-CJN-03

United States District Court for the District of Columbia

Dear Ms. Kearney:

On behalf of my client, Joshua Christopher Doolin , I am requesting the government to
provide discovery in this case pursuant to the Fifth and Sixth Amendments to the Constitution,
Rule 16 of the Federal Rules of Criminal Procedure, Brady v. Maryland, 373 U.S. 83 (1963), and
Local Criminal Rule 5.1.

This request encompasses documents! and information in the possession, custody, or
control of, or that have been reviewed by, the Department of Justice’s Criminal Division, the U.S.
Attorney’s Office for the District of Columbia, and any federal, state, or local agency allied with
the prosecution or involved in any way in investigating the activities alleged in the Indictment or
related conduct. As used in this letter, the words “government” and “you” include your office and

 

The word “documents” includes, but is not limited to, all books, papers, letters,
correspondence, reports, memoranda, studies, calendars, appointment books, diaries, notes,
messages, e-mail, text messages, other computer-facilitated or transmitted materials, images,
photographs, audio and video tapes, recordings, transcripts, ledgers, receipts, printouts, and
any other written, recorded, or memorialized material of any nature whatsoever.

 
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the above-referenced federal, state or local agencies. All of these requests are continuing in
nature, requiring supplementation in accordance with FRCP Rule 16(c) and LCrR.5.1.

I am requesting that the government comply with all its discovery obligations under
federal law and local rules of this Court, including, but not limited to, the items listed below.

Statements of the Defendant
Pursuant to FRCP Rule 16(a)(1)(A) & (B), lam requesting the following:

(A) Any written or recorded statement or admission made by Mr. Doolin that is within the
government's possession, custody, or control, the existence of which is known, or by the
exercise of due diligence may become known, to the government. See FRCP

16(a)(1)(B)G).

(B) The portion of any written record containing the substance of any oral statement made
by Mr. Doolin in response to interrogation by any person then known to the defendant
to be a government agent. See Fed. R. Crim. P. 16(a)(1)(B)(ii). This request includes
without limitation all documents, including notes, prepared by any government

employee or agent that contain the substance of any relevant statement made by
Mr. Doolin.

(C) The substance of any other oral statement made by Mr. Doolin in response to

interrogation by any person then known by Mr. Doolin to be a government agent if the
prosecution intends to use that statement at trial. See FRCP 16(a)(1)(A).

Defendant’s Prior Record

Pursuant to Rule 16(a)(1)(D), Mr. Doolin requests a copy of his prior criminal record, if
any. See FRCP 16(a)(1)(D).

Documents and Tangible Objects

Pursuant to FRCP 16(a)(1)(E), Iam requesting the following:

(D) All books, papers, documents, data, photographs, or tangible objects, or copies or
portions thereof, that were obtained from or belong to Mr. Doolin. See FRCP
16(a)(1)(E) (iii).

(EZ) All books, papers, documents, data, photographs, or tangible objects, or copies or
portions thereof, that the government intends to use at trial in its case-in-chief. See
Fed. R. Crim. P. 16(a)(1)(E)(ii).

 
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(F) All books, papers, documents, data, photographs, or tangible objects, or copies or
portions thereof, that are material to Mr. Doolin’ defense. See Fed. R. Crim. P.

16(a)(1)(E)().
Reports of Examinations and Tests

Pursuant to Rule 16(a)(1)(F), I am requesting the results or reports of any physical or
mental examinations, scientific tests, or experiments that were conducted in connection with the
investigation of the charges contained in the Indictment.

Reports of Investigation

Please advise if your office may take the position that reports of investigation (ROIs)
prepared by law enforcement officers are not discoverable under FRCP Rule 16. It is my view
that many if not all ROIs are discoverable under Rule FRCP 16(a)(1)(A), (E), and (F), among
other provisions. As you are aware, ROIs are also a primary source of information about the
government’s investigation and evidence, and producing them to the defense is essential to
facilitating the resolution of cases. I therefore request that you continue to produce ROIs. If you
intend to withhold some or all ROIs, I request that you identify the nature of the ROIs that you
intend to withhold and the grounds for withholding so that we can meet and confer on this topic.

Expert Notice and Disclosure

Pursuant to FRCP 16(a)(1)(G), Iam requesting a written summary of any testimony the
government plans to use under Rules 702, 703, or 705 of the Federal Rules of Evidence in its
case-in-chief. See F RCP 16(a)(1)(G). Furthermore, should the government request discovery
under FRCP 16(b)(1)(C)(ii), and Mr. Doolin complies, the government must, at Mr. Doolin’
request, provide a written summary of testimony that the government intends to use as evidence
at trial on the issue of Mr. Doolin’ mental condition and describe the witness’s opinions, bases,
and reasons for such opinions, as well as the witness’s qualifications. See Fed. R. Evid. 702(a)-(e),
708, & 705.

Other Crimes Evidence

 

Pursuant to the Fifth and Sixth Amendments to the U.S. Constitution and Rules 403 and
404(b) of the Federal Rules of Evidence, I am requesting that the government disclose all
evidence of similar crimes, wrongs, or acts allegedly committed by Mr. Doolin (or any person
alleged to have been acting pursuant to his instructions), upon which the government intends to
rely to prove motive, scheme, opportunity, intent, preparation, plan, knowledge, identity, or
absence of mistake or accident.

 
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Brady Materials

 

Pursuant to the United States Constitution and relevant case law interpreting its
provisions, including Brady v, Maryland, 373 U.S. 83 (1963), and Giles v. Maryland, 386 U.S. 66
(1967), LCrR.5.1, and the applicable Rules of Professional Conduct, I am requesting immediate
identification and disclosure of all documents and information (in whatever form) that are
favorable to the defense, or that would tend to exculpate Mr. Doolin with respect to the charges
in the Indictment, or that are relevant to the issue of sentencing.

Jencks Materials

 

Pursuant to FRCP 26.2, 18 U.S.C. 3500, and LCrR.5.1, I request that you produce, at the
earliest possible date, any statements of prospective government witnesses that are in the
government's possession and that relate to the subject matter concerning which the witness will
testify. Should you intend to produce Jencks materials later than one week before trial is
scheduled to begin, I request that you provide me and the Court with written notice by no later
than the date the government is required to make its disclosures.

Please let me know promptly whether there are any requests set forth in this letter with
which you decline to comply. I am available to discuss any of the above requests at your
convenience. I reserve the right to supplement these requests as I review the discovery materials
and prepare for trial.

Please feel free to contact me by e-mail or on my cell-phone.

Very truly yours,

THE ORENBERG LAW FIRM, P.C.

BY: Allen H. Orenberg =

AHO/bip
ce: Case File (ECF)

 
